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                   IN THE UNITED STATES DISTRICT COURT
                FOR THE EASTERN DISTRICT OF PENNSYLVANIA

   GEORGE GOODRITZ                    : No.
                                      :
                       Plaintiff,     :
          v.                          :
                                      :
   733 CHESTNUT, LLC,                 :
                                  and :
   SP PLUS CORPORATION                : COMPLAINT
                                      :
                       Defendants :

                              PRELIMINARY STATEMENT

George Goodritz (the “Plaintiff”), by and through his counsel, brings this lawsuit against

733 Chestnut LLC, and SP Plus Corporation seeking all available relief under the

Americans with Disabilities Act for the failure to comply with the Act’s accessibility

requirements. Plaintiff is seeking injunctive relief requiring the Defendants to remove

the accessibility barriers which exist at their parking facility. The allegations contained

herein are based on personal experience of the Plaintiff.
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                                   I. JURISDICTION

1. This action is brought pursuant to the Americans with Disabilities Act of 1990

   (“ADA”), 42 U.S.C. § 12101 et seq.

2. This civil controversy arises under the laws of the United States, and jurisdiction in

   conferred upon this District Court, pursuant to 28 U.S.C. §1331.


                                  II. VENUE

3. All actions complained of herein took place within the jurisdiction of the United States

   District Court for the Eastern District of Pennsylvania.

4. Venue is proper in this judicial District as provided by 28 U.S.C. §1391(b).

                                III. PARTIES

5. Plaintiff is a 69 year-old adult male who currently resides in the Commonwealth of

   Pennsylvania.

6. Plaintiff is a disabled individual.

7. The Philadelphia Board of Revision of Taxes lists 733 Chestnut Associates, L.P. as the

   owner of 733 Chestnut Street, Philadelphia, Pennsylvania 19106, having a tax account

   number of 883401500.

8. According to the Pennsylvania Department of State, “733 Chestnut Associates, L.P.”

   is a cancelled entity. Listed on the on the Pennsylvania Department of State website is

   “733 Chestnut, LLC.”

9. Upon information and belief, 733 Chestnut, LLC (“Defendant Chestnut”) is the owner

   of 733 Chestnut Street, Philadelphia, Pennsylvania 19106.

10. Defendant Chestnut is a domestic for-profit corporation registered with the

   Pennsylvania Department of State under entity identification number 3118211.
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11. SP Plus Corporation (“Defendant SP”) is a foreign for-profit corporation registered

   with the Pennsylvania Department of State under entity identification number 750478.

12. The Corporation Service Company is listed as the registered agent for Defendant SP at

   a business address of 2595 Interstate Drive Suite 103, Harrisburg, Pennsylvania 17110.

13. Defendant Chestnut and Defendant SP are collectively referred to herein as the

   “Defendants.”

                                 IV. STATEMENT OF FACTS

The Parking Facility

14. Defendant Chestnut owns a public parking garage located at 733 Chestnut Street,

   Philadelphia, Pennsylvania 19106 (the “Parking Facility”).

15. Upon information and belief, Defendant SP manages the Parking Facility for Defendant

   Chestnut.

16. The Parking Facility offers parking to the general public.

17. For a fee, an individual can park a vehicle in the Parking Facility at the prevailing

   market rates.

18. The Parking Facility has multiple parking levels, including a basement parking area

   and a roof-top parking area.

19. Upon information and belief, the basement parking area is reserved exclusively for

   Enterprise Rent-a-Car.

20. The Parking Facility has in excess of 200 (two-hundred) parking spaces.

21. The Parking Facility has one handicap-accessible parking space, which is located on

   the roof-top parking level.

22. Upon driving into the Parking Facility, the customer obtains a ticket.
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23. Upon leaving the Parking Facility, the customer inserts the ticket into a kiosk in the

   lobby.

24. The Parking Facility is served by an elevator and by a stair well for the various parking

   levels.

The Plaintiff

25. The Plaintiff is a disabled individual within the meaning of the ADA.

26. The Plaintiff has difficulty walking.

27. The Plaintiff possesses a handicap parking placard issued by the Commonwealth of

   Pennsylvania.

28. The Plaintiff’s handicap parking placard permits him to park his vehicle in spaces

   designated as being handicap-accessible.

29. The Plaintiff’s personal vehicle is a 2016 Toyota RAV 4.

30. The Plaintiff travels to Philadelphia frequently, and is often unable to find parking on

   the streets.

31. Plaintiff parks in a parking garage or parking lot when on-street parking is not available.

32. The Plaintiff has previously patronized the Parking Facility.

33. The Plaintiff would patronize the Parking Facility in the future, but is currently deterred

   because of the lack of any handicap-accessible loading zones.

                   THE AMERICANS WITH DISABILITIES ACT

34. Congress enacted the Americans with Disabilities Act (“ADA”) in 1990 with the

   purpose of providing “[a] clear and comprehensive national mandate for the elimination

   of discrimination against individuals with disabilities” and “[c]lear, strong, consistent,
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   enforceable    standards     addressing     discrimination     against   individuals     with

   disabilities.” 42 U.S.C. § 12101(b).

35. The ADA provides a private right of action for injunctive relief to “any person who is

   being subject to discrimination on the basis of disability.” 42 U.S.C. § 12188(a)(1).

36. Under the ADA, a disability is defined as “(A) a physical or mental impairment that

   substantially limits one or more major life activities of such individual; (B) a record of

   such an impairment; or (C) being regarded as having such an impairment.” 42 U.S.C.

   § 12102(1).

37. Title III of the ADA provides that “[n]o individual shall be discriminated against on

   the basis of disability in the full and equal enjoyment of the goods, services, facilities,

   privileges, advantages, or accommodations of any place of public accommodation by

   any person who owns, leases (or leases to), or operates a place of public

   accommodation.” 42 U.S.C. § 12182.

38. “It shall be discriminatory to afford an individual or class of individuals, on the basis

   of a disability or disabilities of such individual or class, directly, or through contractual,

   licensing, or other arrangements with the opportunity to participate in or benefit from

   a good, service, facility, privilege, advantage, or accommodation that is not equal to

   that afforded to other individuals.” 42 U.S.C. § 12182(b)(1)(A)(ii).

39. A “public accommodation” are private entities whose operations affect commerce. See

   42 U.S.C. § 12181(7).

40. In relevant part, Title III requires that the facilities of a public accommodation be

   “readily accessible to and usable by individuals with disabilities, except where an entity

   can demonstrate that it is structurally impracticable.” 42 U.S.C. § 12183(a)(1).
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41. “Readily achievable” means easily accomplishable and able to be carried out without

      much difficulty or expense. 28 C.F.R. § 36.104.

42. Under Title III, places of public accommodation and commercial facilities that are

      newly constructed for occupancy beginning after January 26, 1992, must be “readily

      accessible to and usable by” individuals with disabilities. 28 C.F.R. § 36.401(a) (1).

43. Existing facilities whose construction predates January 26, 1992, must meet the lesser

      “barrier removal standard,” which requires the removal of barriers wherever it is

      “easily accomplishable and able to be done without undue burden or expense.” 28

      C.F.R. § 36.304(a).

44. Discrimination, for purposes of a public accommodation, includes “[a] failure to design

      and construct facilities for first occupancy later than 30 months after July 26, 1990, that

      are readily accessible to and usable by individuals with disabilities” except where an

      entity can demonstrate that it is structurally impracticable to meet the requirements set

      forth by the ADA. 42 U.S.C. § 12183.

45. Under the ADA, businesses or privately owned facilities that provide goods or services

      to the public have a continuing obligation to remove accessibility barriers in existing

      parking lots when it is readily achievable to do so.

46. The restriping/repainting of the parking space borders in relatively inexpensive, and

      should be readily achievable and easily accomplishable.

Accessible Parking under the ADA

47. The 1991 implementing rules and the 2010 revisions to the ADA set forth the following

      requirements for handicap-accessible parking spaces:1



1
    https://www.ada.gov/regs2010/2010ADAStandards/2010ADAstandards.htm#pgfId-1010282
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    Total Number of Parking Spaces Provided                   Minimum Number of Required
              in Parking Facility                              Accessible Parking Spaces

                          1 to 25                                            1
                         26 to 50                                            2
                         51 to 75                                            3
                        76 to 100                                            4
                       101 to 150                                            5
                       151 to 200                                            6
                       201 to 300                                            7
                       301 to 400                                            8
                       401 to 500                                            9
                                                            2% of the total number of parking
                      501 to 1000
                                                                           spaces
                                                          20, plus 1 for each 100 parking spaces
                    More than 1001
                                                                         over 1000

48. The ADA requires that handicap-accessible parking spaces be at least 96 (ninety-six)

    inches wide. See Appendix A to Part 36- Standards for Accessible Design, 28 C.F.R.

    Part 36.2

49. The width of a parking space is measured from the center of each parking line bordering

    the parking space.3 (See Exhibit A)

50. For cars, the ADA requires that there be an access isle for the handicap-accessible

    parking space that is at least 60 (sixty) inches wide. (See Exhibit A)

51. For vans, the ADA requires that there be an access aisle for the handicap-accessible

    parking space that is at least 96 (ninety-six) inches wide.4

52. The 1991 ADA regulations require that one in every eight accessible spaces must be

    van accessible.5


2
  https://www.access-board.gov/guidelines-and-standards/buildings-and-sites/about-the-ada-standards/ada-
standards/chapter-5-general-site-and-building-elements
3
  Id.
4
  https://www.access-board.gov/guidelines-and-standards/buildings-and-sites/about-the-ada-
standards/guide-to-the-ada-standards/chapter-5-parking#van
5
  https://www.ada.gov/regs2010/titleIII_2010/reg3_2010_appendix_b.htm
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53. The 2010 ADA regulations state that one in every six accessible spaces must be van

    accessible.6

54. The path a person with a disability takes to enter and move through a facility is called

    an "accessible route."7

55. This route, which must be at least three feet wide, must remain accessible and not be

    blocked.8

56. Accessible routes must connect parking spaces to accessible entrances.9

57. “Facility” means all or any portion of buildings, structures, sites, complexes,

    equipment, rolling stock or other conveyances, roads, walks, passageways, parking

    lots, or other real or personal property, including the site where the building, property,

    structure, or equipment is located. 28 C.F.R. § 35.104.

58. ADA accessibility standards require that accessible parking spaces in parking garages

    be located on the shortest accessible route from adjacent parking to the accessible

    entrance of the building.10

59. ADA Guidance Standards provide that “[a] "path of travel" includes a continuous,

    unobstructed way of pedestrian passage by means of which the altered area may be

    approached, entered, and exited, and which connects the altered area with an exterior

    approach (including sidewalks, streets, and parking areas), an entrance to the facility,

    and other parts of the facility.”11




6
  Id.
7
  http://www.ada.gov/regs2010/titleII_2010/title_ii_primer.html
8
  Id.
9
  https://www.access-board.gov/guidelines-and-standards/buildings-and-sites/about-the-ada-standards/ada-
standards/chapter-5-general-site-and-building-elements
10
   http://www.ada.gov/adata1.pdf
11
   https://www.ada.gov/regs2010/2010ADAStandards/2010ADAstandards.htm#curbramps
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60. “An accessible path of travel may consist of walks and sidewalks, curb ramps and other

     interior or exterior pedestrian ramps; clear floor paths through lobbies, corridors,

     rooms, and other improved areas; parking access aisles; elevators and lifts; or a

     combination of these elements.”12

Valet Parking

61. The 1991 Standards of the ADA and the 2010 Standards of the ADA require parking

     facilities that provide valet parking services to have an accessible passenger loading

     zone.13

62. Valet parking facilities must have an accessible passenger loading zone that has an

     access aisle that is a minimum of 60 (sixty) inches wide and extends the full length of

     the vehicle pull-up space. (See Exhibit B)

63. The 1991 ADA Standards and the 2010 ADA Standards both require a passenger

     loading zone to have a vehicle pull-up space that is a minimum of 96 (ninety-six) inches

     wide and a minimum of 20 (twenty) feet in length.14 (See Exhibit B)

64. The passenger loading zone must be located on an accessible route to the entrance of

     the facility.15

Signage and the ADA

65. The ADA standards require the use of the International Symbol of Accessibility (ISA)

     to identify parking spaces which are reserved for use by individuals with disabilities.16

     (See Exhibit C)


12
   See Id.
13
   https://www.ada.gov/regs2010/titleIII_2010/reg3_2010_appendix_b.htm
14
   https://www.ada.gov/regs2010/titleIII_2010/reg3_2010_appendix_b.htm
15
   https://www.access-board.gov/guidelines-and-standards/buildings-and-sites/about-the-ada-
standards/background/adaag#4.6.6
16
   https://www.access-board.gov/guidelines-and-standards/buildings-and-sites/about-the-ada-
standards/background/adaag#4.1
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66. Handicap-accessible parking spaces must be designed as “reserved” by a showing the

     ISA.

67. The ISA must be used to identify accessible passenger loading zones.

68. Directional signage must be used at inaccessible entrances to provide directions to the

     nearest accessible route.

69. Parking space identification signs shall be 60 (sixty) inches minimum above the finish

     floor or ground surface measured to the bottom of the sign.17

Stairs and Handrails

70. At the top of a stair flight, handrails shall extend horizontally above the landing for 12

     (twelve) inches minimum beginning directly above the first riser nosing.18 (See Exhibit

     D)

71. At the bottom of a stair flight, handrails shall extend at the slope of the stair flight for

     a horizontal distance at least equal to one tread depth beyond the last riser nosing.19


                                             COUNT I –

     FAILURE TO PROVIDE A HANDICAP-ACCESSIBLE ACCESS LANE OR
               HANDICAP-ACCESSIBLE PARKING SPACES

72. All preceding paragraphs are hereby incorporated by reference as if fully set forth

     herein.

73. The Parking Facility is a public accommodation as defined by ADA.

74. The Parking Facility is subject to Title III of the ADA.




17
   https://www.access-board.gov/guidelines-and-standards/buildings-and-sites/about-the-ada-standards/ada-
standards/chapter-5-general-site-and-building-elements
18
   See https://www.access-board.gov/guidelines-and-standards/buildings-and-sites/about-the-ada-
standards/ada-standards/chapter-5-general-site-and-building-elements
19
   See Id.
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75. The Plaintiff is a disabled individual within the meaning of the ADA.

76. The United States Supreme Court recognized the term “major life activities” includes

   walking. Bragdon v. Abbott, 524 U.S. 624, 638–39 (1998).

77. The major life activity that the constitutes the Plaintiff’s disability is his difficulty

   walking distances.

78. The Parking Facility does not have any marked valet-area passenger loading zones.

79. The Parking Facility does not have a marked access aisle that is 60 (sixty) inches wide

   that is adjacent to the vehicle pull-up space for any valet parking.

80. The Parking Facility has only handicap-accessible parking space in its garage.

81. The handicap parking space is not located on the first floor.

82. The handicap parking space is located on the roof.

83. The Parking Facility does not have any van-accessible handicap parking spaces.

84. The Parking Facility’s failure to comply with the parking accessibility requirements of

   the ADA has created an accessibility barrier for the Plaintiff, and other similarly

   situated disabled individuals.

85. Defendant Chestnut is responsible for ensuring the Parking Facility’s compliance with

   the ADA.

86. Defendant SP is responsible for ensuring the Parking Facility’s compliance with the

   ADA.

87. The Defendants can remedy their non-compliance with the ADA’s parking

   requirements by creating a marked access aisles.

88. The Defendants can remedy their non-compliance with the ADA’s parking

   requirements for cars by providing more than one handicap-accessible parking space.
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89. The Defendants can remedy their non-compliance with the ADA’s parking

   requirements for vans by providing a van-accessible handicap parking space.

90. Compliance with the ADA’s parking requirements at the Parking Facility is readily

   achievable.

91. The Defendants’ failure to comply with the ADA has denied the Plaintiff the full and

   equal enjoyment of the parking offered by the Parking Facility.

92. The Defendants have discriminated against the Plaintiff by their failure to comply with

   the ADA.

WHEREFORE, Plaintiff seeks to injunctive relief to require the Defendants to comply with

the Americans with Disabilities Act, together with costs and mandatory attorneys’ fees

under as provided by 42 U.S.C. § 12005, and such other legal and equitable relief from

Defendants as the Court deems just and proper.

                                        COUNT II-

             FAILURE TO COMPLY WITH THE SIGNAGE & ACCESS
                    REQUIRMENTS UNDER THE ADA


93. All of the preceding paragraphs are hereby incorporated by reference as if fully set forth

   herein.

94. The Parking Facility does not have any directional signs for the nearest accessible

   route.

95. The Parking Facility does not have any marked passenger loading zones for any valet

   area.

96. The Parking Facility does not have any handicap-accessible parking signs.
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97. The Parking Facility does not have any van-accessible handicap-accessible parking

   signs.

98. The Parking Facility does not have any marked accessible routes.

99. The Defendants can remedy their non-compliance by reallocating existing parking

   spaces and painting border lines which conform to the dimensional requirements of the

   ADA for handicap-accessible parking spaces and access aisles.

100. The Defendants’ failure to comply with the ADA handicap-accessible parking

   requirements has denied the Plaintiff the full and equal enjoyment of parking offered

   by the Parking Facility.

101. The Defendants have discriminated against the Plaintiff by its failure to comply with

   the ADA handicap-accessible parking requirements.



WHEREFORE, Plaintiff seeks to injunctive relief to require the Defendants to comply with

the Americans with Disabilities Act, together with costs and mandatory attorneys’ fees

under as provided by 42 U.S.C. § 12005, and such other legal and equitable relief from

Defendant as the Court deems just and proper.
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                                        COUNT III-

      FAILURE TO MAINTAIN PROPER STAIR RAILS UNDER THE ADA

102. All of the preceding paragraphs are hereby incorporated by reference as if fully set

   forth herein.

103. None of the stair wells have hand railings mounted onto the walls. (See Exhibit E)

104. In the Parking Facility’s stairwells, none of the hand rails extend twelve (12) inches

   over the landing.

105. The Defendants’ failure to install the proper handrail lengths at the tops of the flights

   of stairs has created a safety issue and an accessibility issue.

106. The Defendants can remedy this non-compliance by installing hand rails of the proper

   length.

107. The Defendants have discriminated against the Plaintiff by their failure to comply with

   the ADA.


WHEREFORE, Plaintiff seeks to injunctive relief to require the Defendants to comply with

the Americans with Disabilities Act, together with costs and mandatory attorneys’ fees

under as provided by 42 U.S.C. § 12005, and such other legal and equitable relief from

Defendants as the Court deems just and proper.
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Respectfully submitted,

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Dated: May 12, 2017
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                             CERTIFICATE OF SERVICE

I, Franklin J. Rooks Jr., certify that I served Plaintiff’s Complaint via the Court’s ECF

system.



By: FJR5566

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                                       EXHIBIT A


(Source:https://www.access-board.gov/guidelines-and-standards/buildings-and-
sites/about-the-ada-standards/guide-to-the-ada-standards/chapter-5-parking#spaces)
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                                     EXHIBIT B



Source: https://www.access-board.gov/guidelines-and-standards/buildings-and-
sites/about-the-ada-standards/guide-to-the-ada-standards/chapter-5-passenger-loading-
zones
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                           EXHIBIT C
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                                    EXHIBIT D

Source: https://www.access-board.gov/guidelines-and-standards/buildings-and-
sites/about-the-ada-standards/guide-to-the-ada-standards/chapter-5-stairways
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                                      EXHIBIT D (continued)



Source:https://www.access-board.gov/guidelines-and-standards/buildings-and-
sites/about-the-ada-standards/ada-standards/chapter-5-general-site-and-building-
elements#505 Handrails
505.10.2 Top Extension at Stairs. At the top of a stair flight, handrails shall extend
horizontally above the landing for 12 inches (305 mm) minimum beginning directly above the
first riser nosing. Extensions shall return to a wall, guard, or the landing surface, or shall be
continuous to the handrail of an adjacent stair flight.




Figure 505.10.2 Top Handrail Extension at Stairs
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                         EXHIBIT E
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                    EXHIBIT E (Continued)
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                    EXHIBIT E (Continued)
